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IN THE UNITED STATES DISTRICT Co:ig§;rg
FoR THE WESTERN DISTRICT oF TENNESS W' M 9= 08
EASTERN DIVISION HC~C‘» ' :§s Dl,]mo
DOF TN`JA D'(S;KSOL
WILLIAM JOHNSON,
Plaintit`f,
vs. NO. 03_1037_T-An

DONAL CAMPBELL, et al.,

\_/\_/\_/\_/\_/\_/\_/\_/\_d

Defendants.

 

ORDER GRANTING MOTION FOR EXTENSION OF TIME IN WHICH
TO FILE MOTION FOR SUMMAR.Y JUDGMENT
AND ORDER CONTINUING TRIAL DATE

 

Defendants Fred Raney and Donal Campbell have moved the court to extend the time
in Which to file their motion for summary judgment, due to defense counsel’s heavy
litigation schedule. Defendants filed their motion on May 9, 2005, Which is less than forty-
tive days prior to the trial date chune 8, 2005.l For good cause shown, Defendants’ motion
for extension of time is GRANTED.

Defendants are in error, however, in asserting that allowing an extension of time Will
not delay trial. Plaintiff’s time in which to respond to Defendants’ motion for summary
judgment does not expire until after the trial date. Consequently, the trial date must be

continued. Accordingly, the trial of this matter Which is set for June 8, 2005, is hereby

 

l Local Rule 7.2(d)(1) requires motions for summary judgment to be filed at least forty-five days before
trial, unless the scheduling order requires an earlier filing date.

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CONTINUED and will be re-set at a later date.

IT IS SO ORDERED.

 

 

UN ED STATES DISTRICT J`UDGE

972/lmra Ms"

DATE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 57 in
case l:OS-CV-01037 was distributed by faX, mail, or direct printing on
May 31, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

